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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CONSUMER FINANCIAL
PROTECTION BUREAU,
Plaintiff
: 347-CV-101
v. : (JUDGE MARIANI)
NAVIENT CORPORATION, et al., ;
Defendants.
ORDER

The background of this Order is as follows:

On January 17, 2019, Defendants filed a Motion for Partial Summary Judgment on
Counts | and II of Plaintiffs Complaint (the “Motion for Partial Summary Judgment”) (Doc.
160), with supporting brief (Doc. 161). On February 6, 2019, Plaintiff filed a Motion to Defer
the Deadline for its Response to Defendants’ Motion for Partial Summary Judgment and to
Prohibit Further Motions for Summary Judgment Before the Close of Discovery (the “Motion
to Defer Deadlines”) (Doc. 212), filing its supporting brief a day later (Doc. 213). Plaintiffs
main contention in support of its Motion to Defer Deadlines is that the Motion for Partial
Summary Judgment “is premature because discovery is not complete,” and that given the

numerous discovery disputes in the case, it would be most efficient for the parties to “focus

 
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their efforts on bringing fact discovery to a close” rather than filing or responding to
summary judgment motions. (Doc. 213 at 17).

Without taking any position on the merits of Defendants’ Motion for Partial Summary
Judgment, the Court agrees with Plaintiff that it is premature. From a more fundamental
perspective, the Court previously expressed skepticism to the parties at the December 10,
2018 hearing that, “recognizing the intense factual disputes that pervade every issue in this
case,” the matter is one that can be decided on summary judgment. (Doc. 134 at 97:2-4).
However, if the parties do seek resolution of the matter through motions for summary
judgment, they must do so upon a well-developed factual record. Given the complexity of
this matter, the large size and scope of discovery already propounded, and the sheer
number and wide variety of discovery disputes before the Special Master, it is plain to the
Court that the factual record is far from well-developed. The parties’ attention and
resources should be focused on resolving their discovery disputes and completing discovery
before they consider filing motions for summary judgment that will require the Court to
analyze an immense factual record. Accordingly, the Court will deny Defendants’ Motion for
Partial Summary Judgment without prejudice to permit Defendants to file it or a revised

summary judgment motion after the close of all discovery on October 9, 2019. (See Doc.

 

' Defendants do not concur in Plaintiffs Motion to Defer Deadlines. (Doc. 212 at 4). The Court
acknowledges that it issues this Order before the expiration of the fourteen (14) day deadline for
Defendants to file an opposition to the Motion to Defer Deadlines. See M.D. Pa. LR 7.6. However, for the
reasons discussed herein, the Court finds it clear that it is premature for the parties to file, and for the Court
to consider, any motions for summary judgment prior to the close of discovery.

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141). The parties shall be prohibited from filing any additional motions for summary
judgment with the Court until after that date.
AND NOW, THIS wh DAY OF FEBRUARY, 2019, IT IS HEREBY ORDERED
THAT:
1. Defendants’ Motion for Partial Summary Judgment (Doc. 160) is DENIED WITHOUT
PREJUDICE.
2. The parties are to refrain from filing motions for summary judgment until after the
close of all discovery on October 9, 2019. (See Doc. 141).

3. Plaintiffs Motion to Defer Deadlines (Doc. 212) is DENIED AS MOOT.

 

Robert D. Martant
United States District Judge

 
